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                                                      The Honorable Robert J. Bryan



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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9   UGOCHUKWU GOODLUCK NWAUZOR,               Case No. 3:17-cv-05769-RJB
     FERNANDO AGUIRRE-URBINA,
10   individually and on behalf of all those
     similarly situated,                       THE GEO GROUP, INC.’S OPPOSITION
11                                             TO PLAINTIFFS’ MOTION FOR
              Plaintiffs/Counter-Defendants,   SUMMARY JUDGMENT
12
     v.
13
     THE GEO GROUP, INC.,
14
              Defendant/Counter-Claimant.      NOTE ON MOTION CALENDAR:
15                                             April 1, 2020
16                                             ORAL ARGUMENT REQUESTED
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     THE GEO GROUP, INC.’S                                     AKERMAN LLP
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     SUMMARY JUDGMENT                                      1900 Sixteenth Street, Suite 1700
                                                              Denver, Colorado 80202
     (3:17-CV-05769-RJB)                                      Telephone: 303-260-7712
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 1               Defendant The GEO Group, Inc. (“GEO”), by and through its undersigned counsel,
 2   hereby submits its Opposition to Plaintiffs’ Motion for Summary Judgment.
 3          I.          INTRODUCTION
 4               Detainees at the Northwest ICE Processing Center (“NWIPC”) are not employees. Put
 5   simply, they perform basic tasks in the Voluntary Work Program (“VWP”) to decrease idleness,
 6   improve morale, and otherwise ameliorate the negative impacts of confinement. These tasks are
 7   characteristic of communal living and do not amount to employment under the Washington
 8   Minimum Wage Act (“WMWA”). Accordingly, as demonstrated herein and in GEO’s Motion for
 9   Summary Judgment (ECF 227), Plaintiffs’ claim that the ICE detainees are employees under the
10   WMWA fails as a matter of law.
11               First, detainees at the NWIPC do not fall within the WMWA’s definition of “employee.”
12   The WMWA explicitly exempts individuals who are required to sleep and reside where they work
13   from the definition of “employee.” RWC § 49.46.010(3)(j). It also excludes all detainees of civil
14   detention facilities from the definition of “employee.” RWC § 49.46.010(3)(k). There is no
15   question that VWP participants are civil detainees at the NWIPC and are required to sleep and
16   reside where they perform their VWP duties and are, therefore, exempted from the WMWA.
17               Second, the fundamental purpose of the VWP is not to create an employment relationship,
18   but instead to provide a voluntary program that serves to reduce idleness, increase morale, and
19   minimize the negative impacts of confinement. VWP participants are not working to sustain
20   themselves or to ensure their work product is competitive and cost effective; rather, they are
21   passing time while awaiting resolution of their immigration proceedings. As a result, like jury
22   duty, or vocational work at state-run civil detention centers, the primary purpose of the VWP
23   indicates that its participants are not “employees” under the WMWA.
24               Third, the remaining factors of the economic dependence test do not indicate that the
25   VWP characteristics demonstrate the indicia of employment, and therefore, detainees are not
26   employees under the WMWA.
27               Finally, whether GEO is entitled to an offset is dependent upon a finding of liability under
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 1   the WMWA. Because Plaintiffs cannot establish that detainees are employees, the Court need not

 2   reach GEO’s counterclaim. If it does, it should find that there are issues of material fact that

 3   preclude summary judgment. Thus, as detailed more fully below, this Court should deny

 4   Plaintiffs’ Motion for Summary Judgment (“Motion”) and enter judgment in favor of GEO

 5   holding that detainees are not “employees” under the WMWA.1
 6         II.        Relevant Facts

 7                1. The Voluntary Work Program.

 8            Detainees at the NWIPC are held in ICE custody. Declaration of Barnacle,2 Ex. A, Dec.

 9   of Johnson ¶¶ 7-8, 10. “[D]etainees sleep and live [at the NWIPC] while they are detained by the
10   immigration statutes” Ex. B, Melody, 30(b)(6) Washington Attorney General, 150:7-9; Ex. C,

11   Dec. of Scott ¶¶ 7-8. While at the NWIPC, detainees receive room, board, clothing, and medical

12   care free of cost. Ex. C, Dec. of Scott ¶ 9. Detainees are provided these basic necessities with

13   nothing expected in return. Id. Additionally, ICE requires that GEO provide detainees with an

14   opportunity to stay productive through the VWP described in the PBNDS. While participation in

15   the program by detainees is optional, GEO must develop and operate the VWP under its program

16   with ICE—even if every single detainee declines to participate. Thus, detainees who wish to stay

17   busy while detained have the opportunity to volunteer in the VWP to help with certain chores to

18   occupy their time and feel productive. PBNDS § 5.8. These tasks are small, “nothing technical.”

19   Ex. D, Delacruz 49:2-5. The tasks are akin to household chores that are a typical part of
20   communal living, including, laundry, cleaning up trash, wiping down counters, and cleaning

21   showers.

22

23   1
       It is GEO’s position that the issue of whether detainees are employees can be resolved as a matter of law because
     detainees fall squarely within the statutory exceptions to the definition of employer and GEO is entitled to various
24   immunities as detailed in its Motion for Summary Judgment filed at Docket Number 227. In the event the Court
     reads the statutory language differently (which it should not do), GEO offers these additional facts in response to
25   Plaintiffs’ Motion based upon the economic realities test which attempts to resolve the issues on the record without
     citing, even a single time, to the deposition testimony or evidence submitted by named Plaintiff Nwauzor.
26   2
        All exhibits submitted with GEO’s opposition are attached to the Declaration of Colin Barnacle. To avoid
     unnecessary redundancy, each document attached to Mr. Barnacle’s declaration is cited herein by reference to the
27   relevant exhibit number and a description of the cited document.
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 1            Most VWP tasks, regardless of where they are performed, take 30 minutes or less to

 2   complete. Ex. E, Tracy 45:11-13; Ex. F, Scott 30(b)(6), 81:6-8. Detainees can volunteer in the

 3   kitchen where they could help place frozen chicken patties on a pan or vegetables in a pot. Ex. D,

 4   Delacruz 49:2-5, 75:8-22. At the same time, another detainee may volunteer to move items from

 5   the storage room or freezer to the cooking area. Ex. D, Delacruz 76:3-7. Separate and apart from

 6   the tasks in the kitchen, detainees who volunteer as food servers complete very simple tasks;

 7   including a detainee whose exclusive task is to place a cup of orange juice and a spoon on each

 8   tray. Ex. G, Dec. of Jesus Lopez Paez ¶ 16. A different detainee may volunteer to push the cart of

 9   meal trays between the kitchen and the pod. Id. The tasks in intake are also minor, consisting of
10   “wiping down the windows and . . . dry mopping it with a dust mop and then with a wet mop

11   afterwards.” Ex. E, Tracy 43:4-6. Other tasks include the “pod laundry” position, where

12   volunteers are responsible for distributing clean laundry bags to the individuals in their dorm. Ex.

13   H, Singleton 142:18-21. The graveyard pod cleaning crew simply picks up trash bags from

14   outside of each unit and places the bags in a central location near the loading dock. Ex. I, Johnson

15   29:21-25. Officers must supervise detainees in this task and escort detainees on their route

16   (despite the fact that this often makes the detainees’ presence redundant). Ex. I, Johnson 29:21-25.

17   Detainees are free to choose whether they want to perform a specific task, any task that is

18   available, or no task at all. Ex. H, Singleton 80:1-17; Ex. J, Heye 99:20-25, 100:1-11.

19            In contrast, GEO employees have much greater responsibilities. GEO employees are
20   responsible for all aspects of maintaining the operations at the NWIPC. Ex. J, Heye 89:21. While

21   some tasks may overlap with detainees, this is simply a function of GEO’s obligation to create a

22   sufficient number of opportunities in the VWP so that a significant portion of detainees have the

23   opportunity to participate, should they choose to do so. In contrast with the discrete tasks assigned

24   to detainees, GEO employees perform a “a collateral job,” meaning that they are “doing multiple

25   things at once . . . [t]he main focus is safety and security, but a part of that is, you know, making

26   sure that order is maintained and cleanliness is maintained in the units and other areas wherever

27   you are assigned.” Ex. I, Johnson 20:15-20. To that end, when there no detainee volunteers, GEO
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 1   employees complete all tasks that could be assigned to VWP participants themselves. Ex. D,

 2   Delacruz 22:1-4. This flexibility is built into GEO’s staffing plan that includes a number of

 3   “utility positions” or “extra people on staff . . . that can be pulled off [] and placed where they’re

 4   needed.” Ex. K, McHatton 143:14-19. Despite the unsupported argument to the contrary in the

 5   Motion, there is no indication that the operations would not be possible without detainee

 6   participants. Ex. D, Delacruz 32:18-19 (explaining the kitchen would continue to function without

 7   detainee participants or additional employees); Ex. L, Henderson 50:13-25 (same).

 8            It is GEO employees, three cook supervisors, who are responsible for the cooking of every

 9   meal. Ex. D, Delacruz 45:4-16 (cooks do the “actual cooking”); id. 50:10-11 (same). There are
10   typically three cook supervisors per shift. Delacruz 103:14-16. Of those three supervisors, one

11   supervisor splits his or her time between preparing the food and ensuring the safety of the

12   detainees in the kitchen. Ex. D, Delacruz 104:4-7. Without detainee participants, that individual

13   would be free to focus exclusively on cooking. Likewise, guards who work in the laundry room

14   spend most of their time cleaning laundry alongside the detainees. Ex. E, Tracy 41:1-5. While

15   GEO’s maintenance department is principally responsible for maintaining the paint in the

16   facilities, detainees are periodically provided an opportunity to paint artwork on the walls and

17   unleash their creativity. Ex. K, McHatton 49-50; Ex. M, Jaramillo 37: 13-24 (describing how a

18   detainee would obtain approval to add his or her artwork to the wall). Furthermore, because

19   detainees must stay within certain secure areas, they cannot perform many tasks that GEO
20   employees perform. Ex. E, Tracy 68:24-25, 69:1-20 ECF 223-9 (describing all of the locations

21   where detainees cannot go, but janitor employees can). And, those tasks that detainees perform

22   must be supervised, for security purposes, not performance. Ex. I, Johnson 29:23. Ultimately, it is

23   GEO employees who keep “the facility running and operational.” Ex. J, Heye 89:21. And,

24   detainees cannot perform the essential function of all employees at the NWIPC: “ensure the safety

25   and security” of detainees. Ex. E, Tracy 20:7-9.

26   //

27   //
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 1                      a. Plaintiffs Nwauzor and Aguirre-Urbina

 2            The simplicity of the tasks completed by detainees is illustrated by the experiences of

 3   Plaintiffs Nwauzor and Aguirre-Urbina. Plaintiff Nwauzor had a simple activity that he performed

 4   daily: “When I was in detention, I cleaned the shower.” Ex. N, Nwauzor 6:21. He cleaned the

 5   shower for a mere hour of his day, leaving the other 23 hours to eat, sleep, play football, attend

 6   church, read books, and call his family in Nigeria. 7:8 (cleaned his shower “one hour plus” per

 7   day); 85:2-25 (played football, used the recreation yard, read his bible, and called his family in

 8   Nigeria); 149:20-25 (describing going to church); 151:5-14 (describing reading books in

 9   detention). To keep the residents of NWIPC occupied, the showers are cleaned at least two times a
10   day, but more often three times. Ex. N, Nwauzor 64:15-25, 65:1-16; Ex. G, Dec. of Paez ¶¶ 9,11.

11   This task was Plaintiff Nwauzor’s (and other detainees’) only task as part of the VWP. Ex. N,

12   Nwauzor 66:6-25,66:1, 67:2; Ex. G, Dec. of Paez ¶ 9 (normally, cleaning the showers and

13   cleaning the bathrooms are separate tasks and two people would do the work each shift).

14            Meanwhile, Plaintiff Aguirre-Urbina’s most recent task was to take the full trash bags

15   from each pod to the larger trash bins—which would thereafter be placed in the outside dumpsters

16   by GEO staff. Ex. O, Aguirre-Urbina 121:1-25, 170:1-9. This task “could take an hour. Less than

17   an hour sometimes.” Ex. O, Aguirre-Urbina 168:8. For the most part, Plaintiff Aguirre-Urbina

18   spent his time in detention listening to talk radio, reading his bible, and writing poetry. Ex. O,

19   Aguirre-Urbina 45:18-22; 117:6-11. On a typical day, he would spend one to two hours
20   exercising, followed by bible study, playing dominoes with friends, watching T.V., writing

21   poetry, and finding “something to do” with the rest of his free time. Ex. O, Aguirre-Urbina 117:6-

22   13. And, Plaintiff Aguirre-Urbina did not need to worry about daily chores, as he and four of his

23   roommates agreed to take turns cleaning their living area. Ex. O, Aguirre-Urbina 117:15-19.

24   Plaintiff Aguirre-Urbina was not dependent upon participation in the VWP for funds as his sister

25   would periodically provide him with “a couple hundred dollars,” much more than he would make

26   in the VWP. Ex. O, Aguirre-Urbina 135:1. He was fully aware when he volunteered for the

27   program that the compensation was limited to a dollar per day. Ex. O, Aguirre-Urbina 163:17.
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 1                2. Voluntary Work Program tasks reduce idleness, improve morale and serve
                     the purpose of combating the negative impacts of confinement.
 2

 3            The nature of the relationship between GEO and detainees in the NWIPC is a custodial

 4   relationship, wherein GEO is in charge of ensuring detainees are safe and secure pending the

 5   resolution of their immigration proceedings. Ex. A, Dec. of Johnson ¶¶ 7-8, 10. As part of this

 6   relationship, GEO must meet certain federally mandated detention standards, including the

 7   PBNDS. Ex. A, Dec. of Johnson ¶¶ 11, 12. The VWP is one of the programs that the PBNDS

 8   require GEO to offer to detainees, along with recreation, telephone calls, visitation, and religious

 9   practices. PBNDS, ii; Ex. P, Kimble 30(b)(6) 20:22-25, 21:1-2 (“We follow ICE protocols and
10   ICE rules on [the VWP], on giving opportunities for detainees to get out and use their mind and

11   use their bodies where they’re not just sitting in the detention center housing units.”). Rather than

12   serving the purpose of providing detainees with an opportunity to earn minimum wage or obtain

13   work experience, the explicit stated purpose of the VWP—as set forth in ICE’s PBNDS—is to

14   address the “negative impact of confinement” by decreasing idleness, improving morale, and

15   reducing disciplinary incidents. PBNDS § 5.8; Ex. A, Dec. of Johnson ¶ 11. The State of

16   Washington implements similar programs at its criminal and civil detention facilities. Ex. Q,

17   Eagle 9:19-25, 10:1, 19:1-7; Ex. R, Murphy 19:11-13, 20:22-24; Ex. S, Eisen 7:8-14. Those

18   programs allow confined individuals to participate in tasks for subminimum wages in return for a

19   sense of fulfillment or connection to their communities. Ex. Q, Eagle 9:19-25, 10:1, 19:1-7; Ex.
20   R, Murphy 19:11-13, 20:22-24; Ex. S, Eisen 7:8-14; Ex. B, Melody 30(b)(6) of Attorney

21   General’s Office 142:13-15; Ex. T, Wonhoff 30(b)(6) of Governor’s office 39:16-22.

22            The VWP serves its purpose. As Plaintiff Aguirre-Urbina explained, he participated in the

23   VWP because “[i]t gave me a little bit of fulfillment.” Ex. O, Aguirre-Urbina 120:5-6. The VWP

24   gave him “a little something to do” and helped to “take [his] mind off of a lot of stresses I already

25   have.” Ex. O, Aguirre-Urbina 137:19-24. Detainees also take pride in keeping their living area

26   clean. Ex. N, Nwauzor 68:23-25; Ex. F, Scott 30(b)(6), 83:3-12. Consistent with detainee’s

27   experiences, GEO officers have seen the benefits of the program to detainees who “gain some—a
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 1   sense of pride from it, they gain the sense of I’m not stuck here.” Ex. E, Tracy 81:7-10; Ex. I,

 2   Johnson 33:19 (“[T]hey enjoy the work there.”); Ex. M, Jaramillo 25:16-20 (“[Detainees would]

 3   tell me, [y]ou know, I don’t come to work for a dollar . . . . You can give that to somebody else I

 4   want to get out of my room.”); Ex. M, Jaramillo 73:16-23 (“A lot of times, walking the units,

 5   they’d ask me for something to do just so they can keep themselves busy.”); Delacruz 136:7-12

 6   (“And I ask them, you like working here? And they—a lot of them do, say, oh, good I got out of

 7   the—you know, the pod . . . just to get out and go somewhere else instead of in the pod. And

 8   they—they kind of like to get out.”).

 9                3. The Attributes of the VWP Do Not Indicate “Employment.”
10                      a. Control

11            Plaintiffs make the hyperbolic claim that to argue that GEO does not have control over

12   detainees is to argue “that GEO does not run a secure detention facility.” ECF 221, 15. This

13   contention is not logically sound. Plaintiffs’ argument completely disregards the fact that the

14   VWP is completely voluntary. Ex. D, Delacruz 70:8-10 (“either the people volunteer to work

15   there or they don’t, but that’s -- that’s probably what it is, they just didn’t want to volunteer.”).

16   Detainee participants who volunteer do “whatever they want[], basically. If [a detainee] wanted to

17   fold or put away clothes, [a detainee would] put away clothes. If [a detainee] wanted to wash

18   clothes, [a detainee would] wash clothes.” Ex. U, Menza 53:11-14. Because they volunteer, they

19   are also free to not attend their shifts at any time. Ex. J, Heye 99:20-25, 100:1-11. Likewise,
20   because of the voluntary nature of the program, it is detainees, not GEO who determine what

21   shifts they wish to participate in. Ex. D, Delacruz 100:10 (“Detainees choose what shift they want

22   to be on.”); Ex. D, Delacruz 100:17-18 (“They might need to go see their lawyers in the

23   afternoon, so they pick a morning shift[.]”). Detainees are aware of their autonomy in this respect

24   and schedule their VWP positions around their other activities. Ex. G, Dec. of Paez ¶ 21

25   (describing setting his VWP schedule to accommodate other activities); Ex. V, Dec. of Noe

26   Baltazar Noe ¶ 6 (describing quitting his first VWP position to get a position with a different

27   schedule); Ex. J, Heye 99:20-25, 100:1-11 (describing how detainees choose whether they want to
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 1   work, which tasks they would prefer to perform, and when they want to work). And should a

 2   VWP participant wish to change shifts, he or she can ask to do so at any time. Ex. D, Delacruz

 3   108:5-20. While detainees must ask to change their shift, it is not because GEO selects certain

 4   detainees for certain tasks based upon their skills, but rather because detainees’ safety is

 5   paramount so detainees cannot simply “mosey around the facility” without approval. Ex. D,

 6   Delacruz 108:13-14.

 7            Nor can GEO refuse to place an individual in a VWP position because “that person’s kind

 8   of a jerk” or because they have “attitude or behavioral issues;” GEO simply does not have the

 9   authority or control to “pass” on a detainee applicant. Ex. I, Johnson 44:10-24. Put simply, GEO
10   does not terminate detainee VWP participants for unsatisfactory performance. Ex. P, Kimble

11   30(b)(6) 37:6-9. Likewise, when a detainee leaves his or her position GEO cannot control whom

12   it places in the vacant position to place, for example, the best qualified or most efficient detainee

13   in the newly available position. Ex. U, Menza 69:7-24, 96:14-18 (describing that he could not

14   choose laundry volunteers based upon his own preference). Instead, GEO must provide positions

15   to individuals based upon the order each detainee’s request was received—regardless of skill. Ex.

16   H, Singleton 84:17-18; Ex. W, Scott 39:20-25; Ex. I, Johnson 48:14-15. And, even in the rare

17   circumstances where a detainee is removed from the program, either by their own choice or

18   because of gross misconduct like theft or fighting, GEO is not the ultimate authority on whether

19   the detainee’s removal from the program stands. Ex. I, Johnson 56:1-20, 71:4-19. Instead, each
20   detainee has the right to appeal the decision to ICE, at which point ICE has an opportunity to

21   decide, over GEO’s objection, whether the individual should be reinstated. Ex. I, Johnson 35:2-7.

22   Any final decision is ultimately up to ICE. Ex. I, Johnson 43:2-6 (“ICE . . . say[s] what goes.”).

23            Furthermore, unlike a traditional minimum wage job, detainee participants do not show up

24   for a “shift” and then work the entire duration of the shift at the direction of an “employer.”

25   Rather, because detainees perform very limited tasks, GEO cannot direct them to do tasks for

26   which they did not volunteer. For example, a food porter “can’t do his job when there’s no food

27   there.” Ex. E, Tracy 32:6. Consequently, regardless of the length of an assigned shift in the VWP,
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 1   detainees do what they please until it is their time to perform the discrete task for which they have

 2   volunteered. As detainees are not at GEO’s disposal for an entire “shift,” once it is time for the

 3   task to be completed, a guard may have to “go wake him up or let him know, if he’s outside

 4   playing basketball or whatever[.]” Ex. E, Tracy 32:6-9.

 5                       b. Training

 6            In contrast with the intensive training that GEO employees undergo, detainees often teach

 7   each other to perform the tasks in the VWP. Ex. N, Nwauzor 169:13-22 (describing how another

 8   detainee taught him to clean the shower); Ex. E, Tracy 32:1-5 (stating that detainees teach each

 9   other about the various VWP tasks); Ex. W, Scott 14:15-23 (describing the more extensive
10   training required for GEO employees); Ex. K, Mchatton 23:25, 24:1-5 (describing that before

11   GEO officers are placed they must complete a six week training academy plus two weeks on the

12   job training) Ex. L, Henderson 22:17-21 (describing a six week training for GEO employee

13   cooks in the academy). In other circumstances, detainees arrive at the NWIPC already possessing

14   the relevant experience, obviating the need for additional training. See e.g. Ex. W, Scott 38:18-21

15   (“a lot of the barbers that we have have [sic] prior—were doing barbers before in prisons and

16   jails or have other—have cut hair before.”).

17                       c. Supervision and Performance Standards

18            The supervision of detainees focuses on the security of the facility, not the sufficiency of

19   their performance. Ex. M, Jaramillo 27:3-15 (describing that it is an officer’s job to supervise
20   detainees). Detainees are not removed from their positions for poor performance. Ex. H, Singleton

21   200:17-19. As Mr. Tracy, a GEO officer explained, when supervising VWP participants “you’re

22   out on the actual floor while they’re working. You’re not hovering over them, Hey, you missed a

23   spot here, or like that, but you’re physically out there with them. You can see what they’re doing.”

24   Ex. E, Tracy 40:4-8. Unlike GEO’s employees who must work together to ensure the job is

25   completed, detainees work voluntarily without repercussions for failing to perform their work. Ex.

26   D, Delacruz 24:18-20 (explaining that there are no repercussions if a detainee fails to work); Ex.

27   D, Delacruz 30:7-13 (describing working together to get the job done without detainee volunteer);
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 1   Ex. D, Delacruz 89:18-21 (“[I]f they volunteer to work there, then that’s fine. If they don’t, then --

 2   then it falls on us.”); Ex. E, Tracy 69:22-24; ECF 223-9 (“we all clean”).

 3            Unlike employees, detainee participants in the VWP are not subject to performance

 4   reviews. Ex. D, Delacruz 111:10-12; Ex. H, Singleton 92:24-25 (“As long as they show up and

 5   they do the job, then that’s deemed sufficient.”). Nor are they subject to an initial skill assessment

 6   prior to their placement in a position. Ex. D, Delacruz 111:7-9. Thus, if a detainee cannot

 7   complete certain tasks that are typically done in the VWP shift that the detainee choses, GEO will

 8   provide an alternate task. Ex. D, Delacruz 112:18-24 (“If he -- if he can’t wash walls, well can he

 9   mop floors? You know, it’s -- it’s a vast amount of things that can be done in the kitchen that need
10   to be done with the minimum amount of people that we have or the maximum amount of people

11   we have.”). There is also no requirement of timeliness. For example, where one detainee may take

12   an hour or two to sweep and mop because “he liked not being stuck inside the cell, and he’s very

13   meticulous with everything he did,” another detainee doing the same task may spend only 15

14   minutes. Ex. E, Tracy 44:8-15; Ex. I, Johnson 33:16-18 (“[T]hey’re motivated –to do more, you

15   know, or go longer than one would reasonably expect to complete it.”). At the same time, if a

16   detainee is “doing a lousy job consistently,” a guard cannot say “you’re not doing a good job,

17   you’re not working anymore.” Ex. E, Tracy 50:8-13; Ex. J, Heye 86:9-10 (“[Detainees] cannot be

18   fired. You can’t tell a detainee that he’s fired.”). Instead, a participant would need to affirmatively

19   give up his or her task by signing a refusal to work form. Ex. E, Tracy 50:15-17; Ex. H, Singleton
20   195:20-25 (detainees cannot be fired because the program is voluntary).

21                      d. Permanence

22            Detainees are anything but permanent fixtures at their VWP positions. Detainees are

23   constantly changing positions or resigning from their voluntary work all together. Delacruz 63:1-5

24   (“That could -- that could -- number is constantly changing. We could go from two to four to six

25   to 12 at the most. It’s because people gets -- they’re leaving, and they might work there for three,

26   four months, and then the Tuesday morning they have left.”). Further, beyond their own choices,

27   detainees are not permanent because at any time they could leave the NWIPC because of a change
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 1   in their immigration proceedings. Ex. D, Delacruz 68:18-25 (“[P]eople always are coming in and

 2   leaving, so it’s -- it’s not a permanent – permanent location or -- like it’s not really -- it’s not a

 3   permanent time line because they also are leaving, either being deported or -- or being let -- let

 4   free because of bond, or whatever the case may be, medical, or whatever the case may be, that

 5   people always are moving around, they’re always leaving, coming and going.); Ex. D, Delacruz

 6   98:6-9 (“I don’t fire them. A lot of times they just don’t show up for work, and they voluntarily –

 7   they voluntarily don’t want to work. They voluntarily don’t want to work.”); Ex. V, Dec. of Noe

 8   ¶ 6,7 (describing leaving numerous positions, one after only 15 days, because he wanted a

 9   different position). In fact, GEO employees are unable to estimate how many individuals will
10   participate in the VWP on any given day because of the voluntary nature of the program. Ex. D,

11   Delacruz 69:11-13 (“every day is different, and the amount of people that comes in is different

12   because it’s a voluntary program.”).

13            In sum, as the Washington Department of Labor and Industries (“L&I”) has previously

14   determined, detainees at the NWIPC are simply “not covered by the minimum wage act; they are

15   not defined as employees.” Ex. X.

16     III.      As a Matter of Law, the WMWA Does Not Apply to Detainees in Washington
     Who Reside or Sleep at a Detention Facility.
17

18            “The court’s ‘fundamental objective when interpreting a statute is to discern and

19   implement the intent of the legislature.” Becerra v. Expert Janitorial, LLC, 176 Wash. App. 694,
20   703, 309 P.3d 711, 714 (2013), aff’d, 181 Wash. 2d 186, 332 P.3d 415 (2014). In determining

21   whether the WMWA applies, as a threshold matter, a Court must determine whether an individual

22   falls into an exception to the WMWA. “If an individual is not an employee under the MWA, the

23   minimum wage requirements are never applicable[.]” Berrocal v. Fernandez, 155 Wash. 2d 585,

24   596, 121 P.3d 82, 87 (2005). Here, detainees are covered by two exceptions to the definition of

25   employee: (1) their participation in and duties under the VWP require them to reside (and sleep)

26   at the NWIPC—the same location where they participate in the VWP; and (2) they are in the

27   confines of a detention facility within the State of Washington.
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 1            A. Detainees are not employees under the resident exception to the WMWA

 2            The WMWA explicitly provides that the definition of “employee… shall not include”:

 3            (j) Any individual whose duties require that he or she reside or sleep at the
              place of his or her employment or who otherwise spends a substantial portion
 4            of his or her work time subject to call, and not engaged in the performance of
              active duties;
 5

 6   RWC § 49.46.010(3)(j) (hereinafter the “resident exception”). The Supreme Court of

 7   Washington has previously addressed the resident exception. In interpreting its statutory

 8   language3, the Supreme Court of Washington held that “[t]he plain language of RCW

 9   49.46.010(5)(j) excludes two categories of workers from the MWA’s definition of ‘employee’:
10   (1) those individuals who reside or sleep at their place of employment and (2) those individuals

11   who otherwise spend a substantial portion of work time subject to call, and not engaged in the

12   performance of active duties.” Berrocal, 155 Wash. 2d at 598; see also Strain v. W. Travel, Inc.,

13   117 Wash. App. 251, 257, 70 P.3d 158, 162 (2003) (“The statute is plain: employees required to

14   sleep at their places of employment are exempt from coverage under the MWA.”).4 And, the

15   Washington Department of L&I has not altered this definition. WAC 296-128-600(5)

16   (“‘Employee’ has the same meaning as RCW 49.46.010(3).”).

17            It is undisputed that, here, detainees reside (and sleep) at the NWIPC. Ex. O, Aguirre-

18   Urbina 202:1 (“[T]his is where I live.”); Ex. C, Dec. of Scott ¶¶ 7-9; Ex. B, Melody, 30(b)(6)

19   Washington Attorney General, 150:7-9. As in Berrocal, here, in addition to living and sleeping in
20   the NWIPC, Plaintiffs perform their work in the VWP at the NWIPC. Like in Berrocal, detainees

21   are provided room and board, healthcare, and payment (of less than the minimum wage). Ex. C,

22   Dec. of Scott ¶¶ 7-9. Accordingly, because detainees at the NWIPC reside (and sleep) at the

23   NWIPC, the unambiguous terms of the resident exception (and the Washington Supreme Court’s

24   interpretation of the same) dictate that they are not “employees” under the WMWA.

25
     3
      The same exact language in the present statute was previously located at RCW 49.46.010(5)(j).
26   4
      Furthermore, this exception is consistent with other states that also include resident exceptions. See e.g. Mont.
     Code Ann. § 39-3-406(1)(l) (exempting certain individuals that reside at their workplace); CT ST § 31-58(f) (same);
27   N.M. Stat. § 50-4-21(C)(14) (same); MGL ch. 151, § 1A (same).
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 1            B. Detainees are not employees under the detainee exception to the WMWA.

 2            In addition to the exception for individuals who sleep or reside at their workplace, the

 3   WMWA exempts from the definition of employee “[a]ny resident, inmate, or patient of a state,

 4   county, or municipal correctional, detention, treatment or rehabilitative institution[.]” RWC

 5   § 49.46.010(3)(k) (hereinafter “detainee exception”).5 This exception, in its most natural reading,

 6   excludes those who are in government custody from the definition of employee.6

 7            As with the resident exception, this Court first looks to the plain language of the statute to

 8   interpret its meaning. In analyzing the plain meaning of a statute, “[a] nontechnical statutory

 9   term may be given its dictionary meaning; statutes should be construed to effect their purpose,
10   and unlikely, absurd, or strained consequences should be avoided.” State v. Smith, 189 Wash. 2d

11   655, 662 (2017). Unlike the resident exception, the detainee exception has not been interpreted

12   by the Washington Supreme Court. But courts that have interpreted the detainee exception have

13   concluded that civil detainees are not “employees” under the WMWA. Calhoun v. State, 146

14   Wash. App. 877, 886 (2008), as amended (Oct. 28, 2008). Accordingly, Plaintiffs fall into the

15   detainee exception to the WMWA of employee.” RWC § 49.46.010(3)(k).

16      IV.      Even if this Court Interprets the Statutory Language of the WMWA to
     Apply to VWP Participating Detainees at the NWIPC, Plaintiffs Cannot Satisfy the
17   Economic Dependence Test.

18            The Washington Supreme Court has rejected the argument that the right to control an

19   individual is the key consideration in determining whether an employment relationship exists.
20   Anfinson v. FedEx Ground Package Sys., Inc., 174 Wash. 2d 851, 870 (2012). In concluding that

21   the right-to-control test was inapplicable, the Washington Supreme Court explained that

22
     5
       The Washington Court of Appeals has explained that the detainee exception is not redundant of the resident
23   exception, as the detainee exception covers situations where inmates or residents work off-site, but remain detained.
     Strain, 117 Wash. App. 251.
24   6
       Importantly, the word “state” is not capitalized in RCW 49.46.10(3)(k) and as such should not be construed as
     a proper noun referring to a specific state. Furthermore, when the legislature wants to refer specifically to
25   Washington State, it knows how to do so. See e.g. RCW § 49.12.121(1) (“The department may at any time
     inquire into wages, hours, and conditions of labor of minors employed in any trade, business, or occupation in
26   the state of Washington and may adopt special rules for the protection of the safety, health, and welfare of
     minor employees.) (emphasis added); RWC § 49.48.210 (11)(b) (“‘Employer’ means the state of Washington
27   or a county or city, and any of its agencies, institutions, boards, or commissions”) (emphasis added).
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 1   “minimum wage laws have a remedial purpose of protecting against the evils and dangers

 2   resulting from wages too low to buy the bare necessities of life and from long hours of work

 3   injurious to health.” Anfinson, 174 Wash. at 870. Instead, in determining whether an individual is

 4   an employee, courts utilize the economic-dependence test.7 Id. The economic-dependence test is

 5   not comprised of set factors that must be met. Rather, it is a flexible framework that allows a

 6   court to evaluate the relationship “based upon the ‘circumstances of the whole activity.’”

 7   Becerra, 176 Wash. App. at 706–7 (quoting Rutherford Food Corp. v. McComb, 331 U.S. 722,

 8   730 (1947)). In so doing courts have identified thirteen non-exclusive factors that may be

 9   considered. See Rocha v. King Cty., 435 P.3d 325, 332 at n.6 (Wash. Ct. App.), review granted
10   sub nom. Bednarczyk v. King Cty., 193 Wash. 2d 1017, 448 P.3d 64 (2019). And, federal case

11   law provides additional guidance to courts applying the economic-dependence test in

12   Washington. Anfinson, 174 Wash. 2d at 871 (“[W]e hold that the definition of “employee” in

13   RCW 49.46.010(3) incorporates the economic-dependence test developed by the federal courts

14   in interpreting the FLSA”); Becerra v. Expert Janitorial, LLC, 176 Wash. App. 694, 703 (2013),

15   aff’d, 181 Wash. 2d 186 (2014) (“[The] state supreme court has repeatedly held that our courts

16   may look to the federal courts’ interpretation of the FLSA for guidance in interpreting the state

17   MWA”).

18            In assessing whether an individual is an employee, a critical consideration for a court is

19   the “fundamental nature” of the activity and relationship. Rocha, 435 P.3d at 332–33. “[T]he
20   economic reality test ‘offers a way to think about the subject and not an algorithm. That’s why

21

22   7
       While the economic-dependence test certainly controls when determining whether an individual is properly
     classified as an independent contractor or an employee—it is not clear this test controls in determining whether an
23   individual in a detention setting, who performs certain tasks as part of his or her community, is an employee. Under
     Washington law, individuals in detention facilities are not employees. 49.46.010(k); see also Calhoun v. State, 146
24   Wash. App. 877 (2008). Under federal case law, where there is ambiguity about whether a detained individual is an
     “employee,” a modified economic dependence test is applied. See e.g. Morgan v. MacDonald, 41 F.3d 1291, 1293
25   (9th Cir. 1994) (“The Bonnette factors are properly applied when an individual is clearly employed by one of several
     entities and the only question is which one. They are of no help, however, in deciding the more fundamental
26   question present here: whether the inmates are ‘employed’ in the relevant sense at all . . . Left without a concrete test
     to apply when analyzing inmate FLSA claims, we rely on the broad principles enunciated in Hale.”). Here too, the
27   Court should follow Morgan and/or Calhoun in addressing whether detainees are employees.
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 1   toting up a score is not enough.’” Becerra, 176 Wash. App. at 706–07 (quoting Reyes, 495 F.3d

 2   at 408). Instead, courts must consider not only the enumerated factors, but also the “true nature

 3   of the relationship.” Dawson v. Nat’l Collegiate Athletic Ass’n, 250 F. Supp. 3d 401, 405 (N.D.

 4   Cal. 2017), aff’d, 932 F.3d 905 (9th Cir. 2019) (holding that in the context of student athletes,

 5   the focus was on the “true nature of the relationship” and that therefore student athletes were not

 6   “employees” under the FLSA). As set forth in Becerra, the “‘circumstances of the whole

 7   activity’” must be analyzed. 176 Wash. App. at 706–7

 8            While the existence and degree of each element of the economic-dependence test presents

 9   issues of fact, a Court may rule as a matter of law, where the relationship presented to it is
10   “legally indistinguishable from relationships that have already been determined to” not constitute

11   employment. Daskam v. Allstate Corp., No. C11-0131RSL, 2012 WL 4420069, at *2 (W.D.

12   Wash. Sept. 24, 2012). This is true here. The Washington Court of Appeals has already ruled that

13   circumstances that are indistinguishable from the VWP did not constitute employment. Calhoun,

14   146 Wash. App. at 884-885. Accordingly, the Court may rule as a matter of law that the

15   relationship between detainees and GEO is “legally indistinguishable” from the relationship

16   between the State of Washington and its civil detainees at the Special Commitment Center

17   (“SCC”), as determined in Calhoun.

18            In Calhoun, the Washington Court of Appeals8 addressed whether an individual who was

19   civilly committed by the Washington Department of Social Health Services was an “employee”
20   who could bring a claim for discrimination under Washington law. Calhoun, 146 Wash. App. at

21   884-85. The Court looked to the WMWA to determine whether the detainee fell within the

22

23   8
       The Washington Supreme Court has not yet addressed this issue. This Court, sitting in diversity jurisdiction,
     should defer to the Washington Court of Appeals. Comm’r v. Bosch’s Estate, 387 U.S. 456, 471, 87 S. Ct. 1776,
24   1785, 18 L. Ed. 2d 886 (1967) (Where “a state court has reached a deliberate conclusion, where it has construed
     state law, the federal court should consider the decision to be an exposition of the controlling state law and give it
25   effect as such.”); West v. Am. Tel. & Tel. Co., 311 U.S. 223, 237-38, 61 S.Ct. 179, 85 L.Ed. 139 (1940) (holding that
     federal courts must defer to an intermediate state court’s interpretation of state law, made in the very case under
26   consideration, when the state supreme court has denied review)Bui v. Alarcon, 234 F.3d 1279 (9th Cir. 2000)
     (“Federal courts must defer to the judgment of a state court on interpretations of state law.”); Portalatin v. Graham,
27   624 F.3d 69, 84 (2d Cir. 2010) (federal courts are “bound by [a state court of appeals] construction of [state] law.”)
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 1   definition of “employee.” Id. at 886. The Court first concluded that under the plain language of

 2   RCW 49.46.010(5), the detainee was not an employee. Id. Next, the Court considered whether

 3   there were “indices of employment” by considering a handful of nonexclusive factors from the

 4   economic-dependence test. Id. The Court determined that while it was true that the SCC

 5   exercised control and direction over the program and the detainees’ work performance, the fact

 6   that the program was “optional, paid, and supervised however does not necessarily demonstrate

 7   that he is an employee.” Id. To the contrary, the Court concluded that the detainee was not an

 8   employee, reasoning as follows:

 9            [H]e is a pretrial detainee attempting to adapt to life at the SCC. It is healthy
              for SCC residents to remain active and feel productive on a daily basis. For
10            many of these residents, contributing to the community in which they live
              undoubtedly facilitates the treatment process. The SCC, which recognizes this,
11            has developed a treatment program into which these principles are integrated.
              Earning a living is the goal of most workers. But the primary goal of work at
12            the SCC is to maintain a healthy lifestyle and promote good habits for the
              residents. Id.
13

14   Accordingly, because the purpose of the work program at the SCC was to benefit detainees

15   during their confinement—the program did not serve the primary purpose of allowing the

16   detainees to earn a living, and therefore, they were not employees.

17            Like in Calhoun, the Washington Court of Appeals recently considered whether

18   individuals who perform jury service are employees under the WMWA. Rocha, 435 P.3d at 333.

19   The court explained that while the plaintiffs emphasized the degree of control that the county
20   exercised over jurors, they failed to consider “the fundamental nature of jury service.” Id. at 333.

21   The court held that “[t]he MWA definition of employee, even considering the economic-

22   dependence test, does not transform the fundamental nature of jury service as a civic duty. Thus,

23   jurors are not employees under the MWA.” Id.

24            Similarly, applying the same test adopted by the Washington Supreme Court for

25   determining whether an individual is an “employee,” a Maryland federal court held that ICE

26   detainees who participated in the VWP at a private detention facility were not employees in light

27   of the realities of custodial detention:
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 1            [P]laintiffs cannot be considered “employees” as defined by the FLSA or
              NMMWA. CoreCivic, under the Intergovernmental Service Agreement, was
 2            required to offer a voluntary work program for ICE detainees at Cibola.
              Plaintiffs were incarcerated detainees in this facility awaiting civil
 3            immigration proceedings and engaged in work offered by the Defendant on an
              entirely voluntary basis through this program. The economic reality of the
 4            Plaintiffs’ situation is almost identical to a prison inmate and does not share
              commonality with that of a traditional employer-employee relationship.
 5            Accordingly, Plaintiffs were not “employees” of the Defendant during their
              detention.
 6

 7            Ndambi v. CoreCivic, Inc., No. CV RDB-18-3521, 2019 WL 4735428, at *2 (D. Md.

 8   Sept. 27, 2019) (relying upon Alvarado Guevara v. Immigration and Naturalization Service, 902

 9   F.2d 394 (5th Cir. 1990) (holding that the FLSA does not apply to immigration detainee work
10   programs). This holding is consistent with both Washington State case law and the balance of

11   federal case law, and therefore provides helpful guidance. See Matherly SS v. Andrews, 859 F.3d

12   264, 278 (4th Cir. 2017) (holding that civil detainee was not an “employee” under the FLSA);

13   Sanders v. Hayden, 544 F.3d 812, 814 (7th Cir. 2008) (holding that the FLSA does not apply to a

14   civil detainee committed as a sexually violent person under Wisconsin law); Menocal v. GEO

15   Grp., Inc., 113 F. Supp. 3d 1125, 1129 (D. Colo. 2015) (“because immigration detainees, like

16   prisoners, do not use their wages to provide for themselves, the purposes of the CMWO are not

17   served by including them in the definition of employee”); Martin v. Benson, 827 F. Supp. 2d

18   1022, 1027 (D. Minn. 2011) (applying the economic realities test to conclude a civilly detained

19   individual was not an employee because plaintiffs participation in a “vocational work program
20   has few of the indicia of traditional, free market employment”); Shaw v. Briody, No.

21   2:02CV500FTM–33SPC, 2005 WL 2291711, at *3 (M.D.Fla. Sept. 20, 2005) (civilly detained

22   individual was not an employee under the economic reality test); Miller v. Dukakis, 961 F.2d 7, 9

23   (1st Cir. 1992) (holding that the FLSA does not apply to a civil detainee committed as a sexually

24   dangerous person under Massachusetts law); cf. Morgan v. MacDonald, 41 F.3d 1291, 1293 (9th

25   Cir. 1994) (“So long as the economic reality of the employment relationship suggests that the

26   prisoner’s labor essentially belongs to the prison, the FLSA is inapplicable.”).

27   //
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 1                  A. The Fundamental Purpose of the VWP is Not Employment.

 2            At issue in this case is Plaintiffs’ participation in the VWP at the NWIPC. The VWP is a

 3   program that exists for the purpose of reducing the “negative impact of confinement” by

 4   decreasing idleness, improving morale, and reducing disciplinary incidents. PBNDS § 5.8; Ex.

 5   A, Dec. of Johnson ¶¶ 11, 12, 23-23. The VWP unquestionably serves this purpose. Ex. I,

 6   Johnson 33:19 (“[T]hey enjoy the work there.”); Ex. M, Jaramillo 25:16-20 (“[Detainees would]

 7   tell me, [y]ou know, I don’t come to work for a dollar . . . . You can give that to somebody else I

 8   want to get out of my room.”). Detainees who choose to participate appreciate the chance to stay

 9   busy and feel productive. See e.g., Ex. O, Aguirre-Urbina 137:19-24; see also Section II.3 supra.
10   In contrast, the purpose of the WMWA is to “protect[] against the evils and dangers resulting

11   from wages too low to buy the bare necessities of life and from long hours of work injurious to

12   health.” Anfinson, 174 Wash. 2d at 870; see also RCW § 49.46.005(2) (stating that the purpose

13   of the WMWA is to “establish and enforce modern fair labor standards”); RCW § 49.46.020

14   (stating the purpose of the minimum wage is to “maintain employee purchasing power”); RCW §

15   49.12.020 (the purpose of a minimum wage is to provide workers with wages “which are []

16   adequate for their maintenance.”). The VWP does not serve this purpose. Detainees are not

17   dependent upon the VWP to “buy the bare necessities.” Instead, all detainees are provided with

18   room, board, clothing, and medical care free of charge. Ex. C, Dec. of Scott ¶ 9. Whether a

19   detainee voluntarily participates in the VWP to occupy what may otherwise be idle time has no
20   bearing on his or her access to basic necessities. And, the VWP does not present the threat of

21   “long hours of work injurious to health.” Thus, the purposes of the VWP and the characteristics

22   of the VWP are not consistent with those of employment.9

23

24   9
      It is worth noting the incredible number of complexities that would arise if detainees are classified as “employees,”
25   despite the fundamental nature of their relationship with GEO. GEO’s detention officers would serve as both
     managers to detainees while also serving as officers who monitor detainee safety—it would be nearly impossible to
26   determine which hat a detention officer was wearing at any given time. Could a detention officer be accused of
     creating a hostile work environment if he implemented a mandatory lockdown? If detainees are “employees” they
27   are likely also covered by a myriad of other employment statutes. Would detainees be able to claim that the
     detention officers were comparators for discrimination claims? Would the fact that detention officers have different
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 1            Indeed, if detainees are employees under the WMWA, it would follow that they are

 2   entitled the right to paid sick leave to “care for the health of themselves and their families,” as

 3   explicitly intended by the legislature. § 49.46.005 (2). Yet, detainees who fall ill in the NWIPC

 4   are instead cared for by the facility. They are provided meals and medical care while ill, and they

 5   do not risk losing their housing, access to food, or access to medical care by skipping work. Ex.

 6   C, Dec. of Scott ¶ 9. Further, unlike employees, detainees can always return to their VWP

 7   positions, even if they demonstrate a pattern of absenteeism. Ex. J, Heye 99:20-25, 100:1-11; Ex.

 8   D, Delacruz 98:6-9. Thus, the VWP is not consistent with the fundamental purpose of the

 9   WMWA and weighs strongly against a finding that detainees are employees thereunder.
10                  B. Detainees’ Participation in the VWP is Not Permanent.

11            Another indication that the VWP is not characteristic of employment is the ephemeral

12   nature of detainees’ participation in the program. Because the program is voluntary, there is no

13   guarantee that a detainee will volunteer for the same program more than once. Ex. D, Delacruz

14   98:6-9 (“I don’t fire them. A lot of times they just don’t show up for work, and they voluntarily –

15   they voluntarily don’t want to work. They voluntarily don’t want to work.”). Instead, a detainee

16   may choose to volunteer for a position and then quickly change his or her mind, without any

17   forewarning or consequence. Ex. V, Dec. of Noe ¶ 6,7 (describing leaving numerous positions,

18   one after only 15 days, because he wanted a different position). Further, there is no set period of

19   time that any detainee will be housed at the NWIPC, rather detainees are routinely released from
20   the facility because they make bond or receive a deportation order. Ex. D, Delacruz 68:18-25

21   (“[P]eople always are coming in and leaving, so it’s -- it’s not a permanent – permanent location

22   or -- like it’s not really -- it’s not a permanent time line because they also are leaving, either being

23   deported or -- or being let -- let free because of bond, or whatever the case may be, medical, or

24
     privileges and responsibilities form the basis of a discrimination claim? Would GEO be subject to claims of gender-
25   based discrimination by complying with ICE protocols and ensuring male and female detainees never work
     together? Would detainees be eligible for paid time off? What about paid sick leave? As these rhetorical questions
26   demonstrate, detainees’ relationship with GEO was never intended to be, and is not, one of employer and employee,
     but instead is merely a custodial relationship. The mere fact that detainees are provided with a productive way to
27   occupy their time while detained does not change this basic fact.
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 1   whatever the case may be, that people always are moving around, they’re always leaving, coming

 2   and going.). Therefore, the program is anything but permanent, weighing against a finding that the

 3   VWP relationship is one of employment.

 4                 C. Detainees’ Participation in the VWP is Not Controlled by GEO.

 5            Plaintiffs also argue that detainee VWP participants should be considered employees

 6   because GEO, as the operator of the detention center, has the authority to exercise a high level of

 7   control over detainees. This argument generalizes the relationship between detainees and GEO as

 8   it relates to their confinement status and improperly conflates that relationship with the control

 9   exercised over participants in the VWP. In doing so, Plaintiffs ignore the realities of the VWP,
10   which is completely voluntary. Ex. D, Delacruz 70:8-10; PBNDS § 5.8.

11            For example, Plaintiffs note that the detainees are required to wear uniforms supplied by

12   GEO. This is not an indicia of employment but rather a characteristic of the detention itself.

13   Every individual within the NWIPC is provided clothing, regardless of whether he or she

14   participates in the VWP. Ex. C, Dec. of Scott ¶ 9. Likewise, Plaintiffs argue that GEO “approves

15   shift locations and length.” But, this too is simply incident to confinement as GEO must track

16   where detainees are in the facility at all times—regardless of their participation in the VWP. Ex.

17   D, Delacruz 108:13-14.

18            When it comes to the types of control that would indicate an employment relationship—

19   the VWP lacks those qualities. GEO has no degree of control over who is detained at the
20   NWIPC, and thus, no control over the potential volunteers. Furthermore, GEO cannot control

21   who volunteers for the VWP. Ex. D, Delacruz 89:18-21 (“[I]f they volunteer . . . then that’s fine.

22   If they don’t, then -- then it falls on us.”); Ex. D, Delacruz 70:8-10, 100:10; Ex. V, Dec. of Noe ¶

23   6; Ex. J, Heye 99:20-25, 100:1-11. Nor can it control what tasks volunteers choose to perform.

24   Ex. U, Menza 53:11-14. GEO has no control over the duration for which a detainee will choose to

25   volunteer, be it a day or a week. Ex. J, Heye 99:20-25, 100:1-11. As such, detainees are free to not

26   attend their shifts at any time. Id. Detainees are free to set their own schedule. Ex. V, Dec. of Noe

27   ¶ 6; Ex. D, Delacruz 100:17-18. And, detainees are not reviewed for their performance. Ex. D,
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 1   Delacruz 111:11-12; Ex. H, Singleton 92:24-25. Correspondingly, GEO cannot deny a detainee a

 2   position where the detainee has poor performance. Ex. I, Johnson 44:10-24. Nor can GEO select

 3   certain detainees for certain positions based upon their skill. Ex. U, Menza 69:7-24, 96:14-18. As

 4   GEO cannot control any of the aspects of detainees’ participation in the VWP that an employer

 5   typically dictates, including schedule, performance metrics, and skill requirements, GEO lacks

 6   any control that would indicate an employment relationship exists between detainees and GEO.

 7   Thus, this factor weighs against a finding that detainees are employees.

 8                 D. The Tasks Completed by Detainees are Not an Integral Part of GEO’s
                      Business.
 9
10            Detainees do not perform work that is required for the operation of the facility. To list a

11   few examples, detainees do not cook full meals, they do not ensure the safety of all other

12   detainees, and they do not ensure that the facility is maintained in a sanitary condition in

13   compliance with national standards. Ex. E, Tracy 20:7-9; Ex. J, Heye 89:21; Ex. D, Delacruz

14   45:4-16. Instead, GEO is tasked by ICE and the PBNDS to create productive opportunities, in the

15   form of tasks, that allow the detainees to volunteer for the program. As such, they perform small

16   tasks that help GEO staff perform their duties and keep the facility operational. See supra

17   Section II.1. In many of these small tasks, like assisting with gathering the trash, detainees are

18   supervised by individuals who would otherwise be able to complete the same tasks or dedicate

19   their time to monitoring the safety of the facility. Ex. O, Aguirre-Urbina 121:1-25, 170:1-9; Ex. I,
20   Johnson 29:23. Moreover, there is no indication that without detainees, GEO would be unable to

21   continue operating. Ex. K, McHatton 143:14-19; Ex. D, Delacruz 32:18-19; Ex. L, Henderson

22   50:13-25. Accordingly, their participation is, at best, redundant and cannot be fairly described as

23   an integral or important part of the NWIPC. Thus, this factor weighs in favor of a finding that

24   detainees are not employees.

25            The factors discussed above make clear that detainees who participate in the VWP are not

26   employees under the economic-dependence test. Thus, this Court should deny Plaintiffs’ Motion

27   and enter a declaratory judgment that detainees at the NWIPC, who participate in the VWP, are
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 1   not employees under the WMWA.

 2         V.          Unjust Enrichment Counterclaim and Affirmative Defense for Offset.

 3              Plaintiffs also argue that this Court should grant summary judgment in its favor as to

 4   GEO’s offset and affirmative defense based upon detainees’ receipt of the benefit of room,

 5   board, clothing, and medical care at no cost. As this issue requires many factual determinations,

 6   the Court should not grant summary judgment.

 7              This Court previously identified the necessary inquiry for GEO’s unjust enrichment

 8   counterclaim. ECF 40 at 4. The Court explained that GEO’s counterclaim was not subject to

 9   dismissal because “[t]he first element is satisfied by the allegation that Defendant conferred on
10   Plaintiff the benefit of food, lodging, and other necessities and amenities. The second element is

11   satisfied under the theory that if Plaintiff receives an award for lost wages from Defendant,

12   Plaintiff has received both the benefit conferred and the award for lost wages, both at

13   Defendant’s expense. The third element is satisfied under the theory that such compensation

14   would unfairly increase Defendant’s burden to comply with ICE contract obligations.” Id. The

15   Court further explained that this argument “is an equitable argument better reached at trial.” ECF

16   40 at 5.

17              This same reasoning rings true at this stage in the litigation. It is undisputed that detainees

18   received a benefit, which included food, lodging, medical care, and other necessities and

19   amenities. ECF 221 at 20 (conceding that “GEO has provided the Class Members and other
20   detainees with a benefit . . .”). At the time they received that benefit, detainees understood that

21   the rate they would be paid for participating in the VWP was $1 per day. Ex. O, Aguirre-Urbina

22   163:17. If this Court were to increase that benefit to include a payment for minimum wage,

23   where the VWP and the costs of operating the NWIPC were negotiated based upon the premise

24   that detainees would receive $1, it would be unjust for detainees to retain the minimum wage

25   payment without an offset for their lodging, food, and other benefits received. This would result

26   in an inequitable windfall to detainees who would receive the minimum wage while also

27   avoiding all expenses related to their day-to-day necessities. This inequity would be at GEO’s
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 1   expense, as it would impose a new economic consideration in the contract which it did not have

 2   the opportunity to account for in its negotiations regarding contract pricing with ICE. This is

 3   particularly true where, as of 2014, GEO was operating in conformance with L&I’s express

 4   opinion that the MWA did not apply to the VWP. It would be inherently inequitable to force

 5   GEO to retroactively pay more than it was contracted to pay, and more than it legally was

 6   obligated to pay, without offset for the costs.

 7            As for GEO’s affirmative defense, whether Plaintiffs will receive an award for lost wages

 8   remains to be seen. If Plaintiffs receive an award which does not account for the additional

 9   compensation that GEO provides detainees, through medical care, rent, food, and clothing—
10   Plaintiffs would be unjustly enriched because if, at the outset, GEO had been able to negotiate

11   their pay with ICE based upon an assumption that the WMWA applied, it would have negotiated

12   an offset of those costs either with the government or in their agreements with detainees

13   themselves.

14            Indeed, offsets for room and board are appropriate when calculating minimum

15   compensation rates. Evans v. Hartmann, 5 Wn.2d 434, 105 P. 2d 717 (1940); 29 U.S.C.A. §

16   203(m); Tony and Susan Alamo Foundation v. Secretary of Labor, 471 U.S. 290, 105 S. Ct. 1953

17   (1985); Walling v. Alaska Pac. Consol. Min. Co., 152 F.2d 812 (9th Cir. 1945); Roces v. Reno

18   Housing Authority, 300 F.Supp. 3d 1172 (D. Nev. 2018); Soler v. G. & U., Inc., 833 F.2d 1104

19   (2nd Cir. 1987). The appropriate offset for a live-in employee is the cost of providing the room
20   and board. Chavez v. Arancedo, not reported, 2018 WL 4610567 (S.D. Fl. Sept. 24, 2018). In

21   Roces, employees of a municipal housing authority were provided free housing only, but other

22   wages, for their work as “live-ins” at apartment complexes. Roces, 300 F.Supp. 3d at 1886. The

23   court found the Housing Authority could satisfy the state minimum wage requirement by

24   offsetting the reasonable costs of the lodging provided. Id. at 1888. Similarly, in Soler, even

25   substandard housing provided for migrant workers could be offset against wage calculations.

26   Soler, 833 F.2d at 1111. And, in Balbed, the Fourth Circuit permitted offsets for the costs of

27   lodging and other in-kind benefits afforded an innkeeper who worked for the owners of a bed
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 1   and breakfast. Balbed v. Eden Park Guest House, LLC, 881 F.3d 285 (4th Cir. 2018). The same

 2   rationale is applicable here.

 3              Accordingly, GEO’s counterclaims and affirmative defenses involve the resolution of a

 4   number of factual considerations making their resolution inappropriate for summary judgment.

 5        VI.          CONCLUSION

 6              For the foregoing reasons, this Court should deny Plaintiffs’ Motion for Summary

 7   Judgment and enter an order declaring that the WMWA is inapplicable to detainees at the

 8   NWIPC.

 9              Respectfully submitted, this 27th day of March, 2020.
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 1                                    PROOF OF SERVICE
 2            I hereby certify on the 27th day of March, 2020, pursuant to Federal Rule of Civil
 3   Procedure 5(b), I electronically filed and served the foregoing THE GEO GROUP, INC.’S
 4   OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT via the
 5   Court’s CM/ECF system on the following:
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